Case 2:05-cV-02381-SHI\/|-tmp Document 4 Filed 08/31/05 Page 1 of 4 Page|D 1

IN THE UNITED STATES DISTRICT COUR'I`
WESTERN DISTRICT OF TENNESSEE

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MEMPHIS DIVISION
DAVLD KISDED, THOW~B -,*.. GOULD
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Plalntift`, ) ' " ' “‘~ " "
)
v. ) Case No. 05-2381-Ma P
)
WEPFER MARINE, INC., )
)
Defendant. )

STIPULATION FOR DISMISSAL

COME NOW the Parties, and Stipulate to the Court that all matters in controversy have

been settled and compromised and accordingly this cause may be DISMISSED With prejudice

Qa/M

O’BRYAN BAUN COHEN KUEBLER
and Kirk_ Karamanian

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401 S. Old Woodward, Suite 320
Birmingham, MI 48009
Attorneys for Plaintiff

 

SO ORDERED:

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Date

GOLDSTEIN and PRICE, L.C.
and Gary T. Sacks

By: /»17.`/;.0!7~

One Memoriai Drive Suite 1000
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Attorneys for Defendant

 

APPERSON, CRUMP & MAXWELL, PLC
and L. Jay 'ller

  
 
 

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Suite 400 ""”'

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United States District Judge

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Case 2:05-cV-02381-SHI\/|-tmp Document 4 Filed 08/31/05 Page 2 of 4 Page|D 2

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
MEMPHIS DIVISION

DAV]D KISDED,
Plaintiff,
v. Case No. 05-2381-Ma P

WEPFER MAR}NE, INC.,

Defendant.

STIPULATION FOR DISMISSAL
COME NOW the Parties, and stipulate to the Coult that all matters in controversy have

been settled and compromised and accordingly this cause may be DISMISSED with prejudice
DAV]D KISDED GOLDSTEIN and PRICE, L.C.

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O’BRYAN BAUN COHEN KUEBLER

 

 

 

 

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Memp °s, 1

 

 

Date United States District Judge

Case 2:05-cV-02381-SHI\/|-tmp Document 4 Filed 08/31/05 Page 3 of 4 Page|D 3

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF `TENNESSEE

MEMPHIS DIVISION
DAV]D KISDED, )
Plaintit`f, §
v. § Case No. 05-2381-Ma P
WEPFER MARINE, INC., §
Defendant. §

STIPULATION FOR DISMISSAL
COME NOW the Parties, and stipulate to the Court that all matters in controversy have

been settled and compromised and accordingly this cause may be DISMISSED With prejudice

DAVID KISDED GOLDSTEIN and PRlCE, L.C.

gaf M and Ga.ry T. Sacks
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Date United States District Judge

   

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Dennis M. O'Bryan

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Honorable Samuel Mays
US DISTRICT COURT

